                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                   CORPUS CHRISTI DIVISION

ANNETTE RODRIGUEZ,                         §
                                           §
               Plaintiff,                  §
                                           §
v.                                         §        CIVIL ACTION NO. 2:21-cv-00297
                                           §
CITY OF CORPUS CHRISTI,                    §
PAULETTE GUAJARDO,                         §        (JURY TRIAL DEMANDED)
PETER ZANONI,                              §
STEVEN VIERA,                              §
AND EYVON MCHANEY,                         §
                                           §
               Defendants.                 §


PLAINTIFF, ANNETTE RODRIGUEZ’S VERIFIED FIRST AMENDED COMPLAINT,
     APPLICATION FOR TEMPORARY AND PERMANENT INJUNCTIVE
            RELIEF, AND REQUEST FOR DECLARATORY RELIEF

       Plaintiff, Annette Rodriguez, by and through her undersigned counsel, files this First

Amended Complaint against the City of Corpus Christi, Paulette Guajardo, Peter Zanoni, Steven

Viera, and Eyvon McHaney (hereinafter referred to collectively as “Defendants”), and in support

thereof states as follows:

                                          PARTIES

       1.      Plaintiff, Annette Rodriguez (“Plaintiff” or “Ms. Rodriguez”), is a current

employee of the City of Corpus Christi and is an adult individual residing at 13901 River Rock

Drive, Corpus Christi, Texas 78410.

       2.      Defendant, City of Corpus Christi (“City”), is a governmental entity and a

subdivision of the State of Texas, an “employer” within the meaning of 29 U.S.C. § 203(d), an

“enterprise” under 29 U.S.C. § 203(r), and a “public agency” within the meaning of 29 U.S.C. §
203(x) and employs Ms. Rodriguez. The City may be served through its agent, Mayor Paulette

Guajardo, at 1201 Leopard Street, Corpus Christi, Texas 78401.

         3.       Defendant, Paulette Guajardo (“Ms. Guajardo” or “Mayor”), in her official capacity

as Mayor of the City, may be served with service of process at 1201 Leopard Street, Corpus Christi,

Texas 78401.

         4.       Defendant, Peter Zanoni (“Mr. Zanoni”), in his official capacity as City Manager

for the City, may be served with service of process at 1201 Leopard Street, Corpus Christi, Texas

78401.

         5.       Defendant, Steven Viera (“Mr. Viera”), in his official capacity as Assistant City

Manager for the City, may be served with service of process at 1201 Leopard Street, Corpus

Christi, Texas 78401.

         6.       Defendant, Eyvon McHaney (“Ms. McHaney”), in her official capacity as Director

of Human Resources for the City, may be served with service of process at 1201 Leopard Street,

2nd Floor, Corpus Christi, Texas 78401.

                                       JURISDICTION AND VENUE
         7.       This Court has jurisdiction pursuant to 28 U.S.C. § 1331, as the causes of action

related to the Fair Labor Standards Act (“FLSA”) and the Equal Pay Act (“EPA”) are federal

questions. 1 At all times pertinent to this Complaint, Defendants were an “employer” within the



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          Ms. Rodriguez has a complaint pending before the Equal Employment Opportunity Commission (“EEOC”),
which addresses the sex, age, and disability discrimination she faced and complained of while working for the City.
One (1) example of this behavior occurred on or about January 2020, when Mr. Zanoni, with the approval of the City,
invited all the Directors and Assistant Directors to attend a retreat. The retreat featured a presenter who was approved
by Mr. Zanoni, and who showed inappropriate materials, and made unprofessional and lewd comments during the
presentation. Specifically, the presenter displayed a slide that showed a naked woman with a doctor laying on the
woman’s chest. The presenter stated that the slide showed why doctors were not excited about the invention of the
stethoscope because they enjoyed laying on naked women’s chests. Instead of stopping the presentation there, Mr.
Zanoni (and other men in the room) laughed, ratifying the speaker’s outrageous, unprofessional, and inappropriate
behavior. The women in the room, including Ms. Rodriguez, felt beyond uncomfortable and extremely embarrassed.
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meaning of 29 U.S.C. § 203(d), an “enterprise” under 29 U.S.C. § 203(r), and a “public agency”

within the meaning of 29 U.S.C. § 203(x). Additionally, this Complaint is brought, in part,

pursuant to 42 U.S.C. § 1983 (“Section 1983”) and jurisdiction is based, in part, on 28 U.S.C. §

1343. Finally, there is pendent jurisdiction pursuant to 28 U.S.C. § 1367 for Plaintiff’s claims

regarding Texas Whistleblower Statute violations because they are so related to the federal

question claims that they constitute the same case or controversy. In fact, in many instances, these

state law claims form part of the federal retaliation claims.

        8.      This action arises under the laws of the state of Texas, as Defendants intended their

misconduct, and the conduct they encouraged, to adversely affect a resident of Texas, making

Texas law applicable. This action arises under the laws of the state of Texas because the events

that form the bases of this suit occurred in Texas.

        9.      Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) because the Defendants,

in their official capacities, reside in this district and in this state. Venue is also proper in this Court

under 28 U.S.C. § 1391(b)(2) because a substantial part of the events or omissions giving rise to

Plaintiff’s claims occurred in Corpus Christi, making venue proper in the Corpus Christi Division

of the Southern District of Texas. See 28 U.S.C. § 1391(b).

                                    CONDITIONS PRECEDENT

        10.     All conditions precedent to Plaintiff’s recovery and/or initiation of this suit have

occurred, been performed, excused, waived, and/or have otherwise been satisfied.

                                     FACTUAL BACKGROUND

        11.       Ms. Rodriguez began working for the Corpus Christi Public Health District in or



Ms. Rodriguez does not specifically address those claims herein because the EEOC has not issued a Right to Sue
Letter as of the date of this filing.

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about 2002, and the following year she was appointed Interim Director of Public Health. Ms.

Rodriguez remained Interim Director, until January 2010, when the City officially promoted her

to Director of Public Health. At all relevant times, Ms. Rodriguez has been employed by the City.

       12.      Pursuant to the Employment Agreement Ms. Rodriguez signed in January 2010

when she was promoted to the Director of Public Health position, Ms. Rodriguez is employed at

the pleasure of both the City Manager (Mr. Zanoni) and Barbara Canales, the Nueces County Judge

(“County Judge”). Though a City employee, Ms. Rodriguez may only be terminated from her

position (or suffer other adverse actions) when both the City Manager and County Judge agree to

such action.

       13.      Sometime after Mr. Zanoni became City Manager in May 2019, Ms. Rodriguez

complained about her pay and, since that time, has diligently tried to resolve these concerns.

However, Ms. Rodriguez’s efforts have been to no avail, as Defendants have not only refused to

pay Ms. Rodriguez the wages to which she is entitled under the FLSA and the EPA, they have also

retaliated against her, jointly and individually, for voicing these concerns.

       14.      On January 15, 2020, after Ms. Rodriguez brought her concerns regarding her pay

to Mr. Zanoni’s attention, he gave her a poor performance evaluation to justify giving her the

minimum pay increase. Ms. Rodriguez reported Mr. Zanoni’s actions regarding her pay to the

County Judge. On February 3, 2020, the County Judge acknowledged Ms. Rodriguez’s complaints

and stated that she was impressed with the dedication Ms. Rodriguez had demonstrated and

therefore awarded Ms. Rodriguez a four percent (4%) salary adjustment.

       15.      On May 7, 2020, a “24 hours a day, 7 days a week” schedule was initiated,

necessitated by the public health emergency declared by the Mayor on March 13, 2020 related to

COVID-19. Because of the “24 hours a day, 7 days a week” schedule, on April 16, 2020, Mr.


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Zanoni signed a Memorandum, effective March 20, 2020 (“Memorandum”), which approved all

City public health employees, “up to and including the director,” to be paid on an hourly rather

than salary basis, as non-exempt employees. As of this lawsuit, these policies have not been

rescinded and remain in force.

       16.      Ms. Rodriguez is an employee of the City who is classified as non-exempt from

overtime, per the Memorandum discussed above, which has not been rescinded in writing to her,

and as such, has incurred some overtime during the period in question due to COVID-19. This

has resulted in overtime pay obligations for the City and it has refused to pay Ms. Rodriguez that

to which she is rightfully entitled under the FLSA. Defendant’s continuing failure to properly

compensate Ms. Rodriguez is not in good faith and is a willful violation of the FLSA as it applies

to Ms. Rodriguez.

       17.      Additionally, with the City’s authority, Mr. Zanoni tasked the former Assistant

Director of Human Resources, Rosa Medina (“Ms. Medina”), with gathering market studies that

Mr. Zanoni would use when making salary decisions. Mr. Zanoni stated he was going to give

raises such that everyone’s salary would be between ninety to ninety-five percent (90 – 95%) of

the market average. However, despite Ms. Medina’s research, Mr. Zanoni arbitrarily determined

whether the salary for each position should be higher or lower than the market average. Neither

years of experience nor performance were taken into consideration, although it is apparent the sex

or age of each employee played a significant role. Ms. Rodriguez was given a three percent (3%)

salary increase—the third lowest percentage increase given—bringing it up to seventy-nine

percent (79%) of market average. Only four (4) out of forty (40) employees had a lower percentage

of the market average salaries than Ms. Rodriguez, two (2) of whom are women. Of the two (2)

men who received a lower percentage of the market average salaries, one (1), Rudy Betancourt, is


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no longer a City employee and has a separate action pending against the City. Further, Dante

Gonzalez, Ms. Rodriguez’s Assistant Director, had his salary increased to ninety percent (90%) of

the market average, despite having very little public health experience; Mr. Gonzalez’s pay

increase was a thirteen percent (13%) increase after only being employed in that position by the

City for a few months. During that time, four (4) out of twenty-eight (28) Assistant Directors

made more as Assistant Directors than Ms. Rodriguez did as a Director. Three (3) of those four

(4) Assistant Directors were men who were close friends of Mr. Zanoni. Unfortunately, when Ms.

Rodriguez inquired how salaries were determined, Mr. Zanoni yelled at her, stating she was

unappreciative, but he was unable to articulate a non-discriminatory reason or calculation for how

salaries were determined.

       18.      The retaliation Ms. Rodriguez experienced from Defendants after discussing the

matters above with Mr. Zanoni only exacerbated the existing issues and can only be described as

defamation and obvious mistreatment, which is inappropriate under the FLSA and the EPA.

       19.      Specifically, on August 16, 2021, the City, Mr. Zanoni, and Mr. Viera began

retaliating against Ms. Rodriguez by trying to further tarnish her reputation and work record by

placing a false disciplinary memorandum (“Disciplinary Memorandum”) in her personnel file that

mischaracterized the events leading up to a press conference held on August 15, 2021 and left out

key pieces of information that later required clarification.      Specifically, the Disciplinary

Memorandum alleged that Ms. Rodriguez had failed to properly communicate and coordinate with

City Leadership regarding the August 15, 2021 press conference.

       20.      On August 18, 2021, after being notified of the Disciplinary Memorandum, the

County Judge thought it necessary to correct the record and clarify that Ms. Rodriguez did an

excellent job communicating and coordinating with City and County Leadership, and even


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provided evidence of Ms. Rodriguez’s efforts to coordinate a unified response to the Public Health

Authority’s mask mandate for public schools.

       21.      Additionally, Mr. Zanoni, Ms. Guajardo, and the City initially voted to withdraw

from the Corpus Christi-Nueces County Public Health District, purportedly to avoid lawsuits

involving Health District employees and provide services at a lower cost. Following this vote, the

Defendants appeared to be creating an independent City Health Department and would no longer

fund the Health District Director position, in which Ms. Rodriguez had been working.

       22.      Later, however, Mr. Zanoni, Ms. Guajardo, and the City participated in another

vote, opting for the City to retain authority over the Public Health District. The amended plan

attempts to extend exclusive authority over the Public Health District to the City. However, the

County Judge has opposed this plan, has not signed it, and has not concurred with the removal of

Ms. Rodriguez as required by the Employment Contract.               Nevertheless, the City has not

discontinued its adverse actions and has provided no assurances they will not continue.

       23.       The apparent reasons expressed for this withdrawal, which are dubious both

legally and factually, are that Ms. Rodriguez is already paid too much, the sum she is seeking to

remedy past discrimination and pay issues is over a million dollars, and Mr. Zanoni can achieve

an accredited health program more cheaply. There is no allegation that Ms. Rodriguez has not

done her job in a superlative manner during the pandemic, and all the accolades and performance

appraisals she has received demonstrate exceptional performance. Despite this, Defendants have

gone along with Mr. Zanoni’s charade, have been nonresponsive to Ms. Rodriguez’s multiple

written attempts to rectify the situation, and have unilaterally decided that of all those who must

re-apply for their positions, Ms. Rodriguez is likely to be denied rehire and is, therefore, at risk of

imminent termination, on information and belief, as early as March 1, 2022.


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       24.      Now that it has already taken public action concerning the Public Health District,

and stirred significant publicity regarding same, the City finally seems willing to create a plan for

its actions. Defendants have verbally told most Public Health District Employees that their new

positions will be publicly advertised, and though they must submit a new application in order to

remain in their jobs, the application is a mere formality. Similarly, Defendants have told most

employees they can expect to retain their positions and will not experience any decrease in pay or

seniority. Notably, however, Ms. Rodriguez was never given such assurances. The City began

publicly advertising her job and launched a nationwide search for her replacement while she was

still employed in her role. This was the first job posting the City launched under its new plan, and

it was not until weeks later that it began posting other high-level positions. In an effort to follow

the new system the City has arbitrarily enacted, Ms. Rodriguez submitted an application to remain

in her position, which the City has, to date, refused to consider.

       25.      The County Judge continues to vocalize displeasure with the City’s arbitrary plan

and continues to vote in County Commissioners Court sessions to retain the Public Health District,

which has caused great confusion and uncertainty surrounding Ms. Rodriguez’s position and

future. Defendants’ unilateral decision to withdraw the Public Health District from the County’s

authority ensures that they will continue to take disproportionate adverse action against Ms.

Rodriguez, thereby breaching her Employment Agreement, while both retaining all other Public

Health District employees and staffing new employees who are coached to undermine her. Such

adverse action includes withholding pay, improperly assessing an adverse performance appraisal

to ensure Ms. Rodriguez is denied a pay raise to which she is otherwise entitled, undermining Ms.

Rodriguez’ performance, publicly defaming Ms. Rodriguez to the press, and taking other adverse

and unknown actions without the concurrence of the County Judge as required by Plaintiff’s


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Employment Agreement.

       26.      Despite Ms. Rodriguez’s current employment agreement still necessitating

concurrence between the City Manager and County Judge, Defendants have insisted the City act

independently to usher Ms. Rodriguez towards termination. In his 2021 Performance Evaluation

(“Evaluation”) of her, Mr. Zanoni rated Ms. Rodriguez as “needs improvement” in several

categories, despite her clear record of exceeding expectations, particularly during a global

pandemic and in executing the City’s COVID-19 relief plan. The Evaluation is what the Human

Resources department relies upon when making pay increase decisions. Mr. Zanoni also included

several false and accusatory comments on the Evaluation, alleging that numerous employees

complained about Ms. Rodriguez, and the City subsequently launched an investigation to

substantiate those complaints. The City never notified Ms. Rodriguez or the County Judge about

any such complaints. Likewise, the City never involved Ms. Rodriguez in the investigation, nor

did it allow her to respond to any allegations, as it had in the past. To date, the City has never

provided Ms. Rodriguez with any documentation or specific information regarding the allegations

mentioned in her Evaluation, as required by City policy.       Ms. Rodriguez has been unable to

confirm that any complaints (as asserted in the Evaluation) were in fact lodged against her. At

every turn, the City’s conduct points to nothing other than its intent to terminate Ms. Rodriguez.

       27.      Adding to the confusion is the fact that, for the same appraisal period and

evaluation categories, the County Judge evaluated Ms. Rodriguez’s performance as exceeding

expectations and gave her the highest rating possible for each category. The County Judge did not

allege that any complaints or investigation were launched against Ms. Rodriguez during the

evaluation period, nor did she provide any negative feedback regarding Ms. Rodriguez’s

performance in her role. The County Judge has been consistently vocal about her satisfaction with


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Ms. Rodriguez’s work, desire for Ms. Rodriguez to remain in her position, and disdain for the

improper adverse actions the City has taken and continues to take against Ms. Rodriguez.

       28.      Additionally, Defendants and/or other City employees have been speaking with

the press, making defamatory statements regarding Ms. Rodriguez, and alleging that her salary is

greater than what her employment records show. Specifically, Defendants and/or other City

employees alleged that Ms. Rodriguez earned more than Dr. Anthony Fauci, the Chief Medical

Advisor to the President and Director of the National Institute of Allergy and Infectious Diseases

(“NIAID”). Defendants and/or other City employees alleged that Ms. Rodriguez made more than

$600,000.00, which is not accurate.

       29.      The foregoing defamatory statements are false, and Defendants acted with malice

when they made them because they certainly had no reasonable basis to believe these statements

were true since they have access to Ms. Rodriguez’s employment records. In fact, Defendants

made these untrue statements to create a pretext for their withdrawal from the Corpus Christi-

Nueces County Health District and, as a result, essentially firing Ms. Rodriguez from her current

position with the City.

       30.      To give Defendants the benefit of doubt as to malice, on November 11, 2021,

undersigned counsel sent an e-mail to Miles Risley (“Mr. Risley”), City Attorney, identifying the

defamatory statements and asking him to have Defendants correct the defamatory news articles.

Mr. Risley did not respond, the defamatory news articles have not been retracted or corrected, and

in some cases, have been repeated after advice to Defendants that they were incorrect. This lawsuit

followed. In the time since the lawsuit was initiated, Ms. Rodriguez has received e-mails from

residents of Nueces County, who have undermined her authority and hurled insults at her based on

what they have read in the news.


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           31.   The County Judge continues to refuse to vote in favor of the City retaining

exclusive management of the Public Health District. However, contrary to the County Judge’s

advisement, the County voted in favor of amending the Cooperative Agreement to Operate the

Health District (“Cooperative Agreement”), resulting in a four (4) to one (1) vote. The City is

expected to vote on the same amendment on February 15, 2022.               The County Judge has

communicated that if the City also votes to amend the Cooperative Agreement, she will refuse to

sign it.

                             COUNT I – VIOLATIONS OF THE FLSA

           32.   Ms. Rodriguez realleges and incorporates by reference the allegations of

Paragraphs 1 through 31 above as if fully set forth herein. Based on the foregoing, Defendants

violated FLSA by failing to properly compensate Ms. Rodriguez for work performed in the employ

of the Defendants.

           33.   Since April 16, 2020, Ms. Rodriguez has been entitled to the rights, protections,

and benefits provided under the FLSA for non-exempt employees because applicable policies

require that she be paid on an hourly basis, rather than a salary basis, which requires overtime to

be paid. 29 U.S.C. § 201, et seq. Since April 16, 2020, Ms. Rodriguez has worked in excess of

forty (40) hours per week, and thus is entitled to overtime compensation at a rate of one and one-

half times her regular rate of pay for each additional hour or fraction thereof worked. 29 U.S.C. §

207.

           34.   Defendants have not paid a substantial amount of Ms. Rodriguez’s overtime pay

and have not made a good-faith effort to comply with the overtime provisions within the FLSA,

and the refusal to pay was knowing, willful, intentional, unreasonable, arbitrary, and in bad faith.

           35.   Ms. Rodriguez has suffered damages as a direct result of Defendants’ illegal


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actions. Defendants are liable to Ms. Rodriguez for unpaid overtime wages, liquidated damages,

pre-judgment interest, attorneys’ fees, and costs of Court as provided by the FLSA for all violations

that occurred within the three (3) years prior to the filing of this suit.

        36.      Alternatively, should the Court find that Defendants acted in good faith in failing

to pay Plaintiff as provided by the FLSA, Plaintiff is entitled to an award of pre-judgment interest

at the applicable legal rate.

           COUNT II – UNLAWFUL RETALIATION IN VIOLATION OF THE FLSA

        37.      Ms. Rodriguez realleges and incorporates by reference the allegations of

Paragraphs 1 through 36 above as if fully set forth herein.

        38.      The FLSA prohibits retaliation against an employee because she has “filed a

complaint or instituted or caused to be instituted any proceeding under or related to” the rights

contained in the FLSA. 29 U.S.C. § 215(a)(3).

        39.      Since Ms. Rodriguez made a demand for the wages to which she is rightfully

entitled, Defendants have retaliated against Ms. Rodriguez in violation of FLSA by unilaterally

deciding to withdraw from the Public Health District, making defamatory and adverse comments

in the press and otherwise, and single-handedly deciding how the transition will occur in a dubious

manner, essentially dispensing with Ms. Rodriguez’s position and requiring her to apply for a

position she has held for almost twenty (20) years.

        40.      Ms. Rodriguez has suffered damages as a direct result of Defendants’ illegal and

retaliatory actions. Defendants are liable to Ms. Rodriguez for lost wages, liquidated damages,

damages for emotional distress, exemplary damages, attorneys’ fees, and costs of Court under

FLSA.




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                     COUNT III – VIOLATIONS OF THE EQUAL PAY ACT

          41.   Ms. Rodriguez realleges and incorporates by reference the allegations of

Paragraphs 1 through 40 above as if fully set forth herein.

          42.   Ms. Rodriguez’s position as Director of Public Health requires a great deal of skill,

effort, and responsibility. However, Ms. Rodriguez has been paid less than other Directors and

Assistant Directorssome of whom are male and younger, with less responsibilities, less

experience, or perform similar work as her. Additionally, Ms. Rodriguez has not been given raises

at the same rate as her younger, male counterparts.

          43.   The wage difference between male and female employees is not due to seniority,

merit, quantity or quality of production, or a bona fide factor other than sex—such as education,

training, or experience. In the alternative, to the extent Defendants relied upon a bona fide factor

other than sex, said factor was based on or derived from a sex-based differential in compensation,

was not job-related with respect to the position in question, or was not consistent with a business

necessity.

          44.   The foregoing conduct constitutes a willful violation of the EPA. 29 U.S.C. §

206(d).

          COUNT IV – RETALIATION IN VIOLATION OF THE EQUAL PAY ACT

          45.   Ms. Rodriguez realleges and incorporates by reference the allegations of

Paragraphs 1 through 44 above as if fully set forth herein.

          46.   Under the EPA, Defendants are legally prohibited from retaliating against

employees who take action against discriminatory practices in the workplace. 29 U.S.C. §

215(a)(3).

          47.   Since Ms. Rodriguez made a demand for the wages to which she is rightfully


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entitled, Defendants have retaliated against Ms. Rodriguez in violation of the EPA by essentially

dispensing with her position, publicly and erroneously espousing that her job can be done more

cheaply, advertising for her job, and requiring her to apply for a position she has held and

honorably served in for almost two (2) decades.

       48.        Thus, Ms. Rodriguez has suffered damages as a direct result of Defendants’ illegal

and retaliatory actions.

       COUNT V – VIOLATION OF THE TEXAS WHISTLEBLOWER STATUTE

       49.       Ms. Rodriguez realleges and incorporates by reference the allegations of

Paragraphs 1 through 48 above as if fully set forth herein.

       50.       When a local or state governmental unit retaliates against an employee who reports

a violation of the law, the Whistleblower Act (Texas Government Code Chapter 554) waives

immunity and allows the employee to sue for damages, reinstatement, and other injunctive relief.

Tex. Gov’t Code §§ 554.003, 554.0035; Dallas Cty. v. Gonzales, 138 S.W.3d 94, 101 (Tex. App.—

Dallas 2006, pet. denied). The Whistleblower Act has two (2) purposes: (1) protecting public

employees from employer retaliation when reporting in good faith a violation of law; and (2) to

secure lawful conduct from those conducting the affairs of state or local government units. Tarrant

Cty. v. McQuary, 310 S.W.3d 170, 173 (Tex. App.—Fort Worth 2010, pet. denied).

       51.       Ms. Rodriguez is a public employee. Tex. Gov’t Code § 554.002(a); see also Tex.

Gov’t Code § 554.001(4) (public employee is employee or appointed officer paid to perform

services for state or local government unit). The governmental unit for which Ms. Rodriguez

works is the City. Tex. Gov’t Code § 554.001(2) (local governmental unit includes county and

municipality).

       52.       Ms. Rodriguez made a good faith report that her employer or another public


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employee violated the law.       Tex. Gov’t Code § 554.002(a).         Specifically, Ms. Rodriguez

complained to Mr. Zanoni regarding her unpaid wages and the pay gap between certain City

employees. Upon bringing these complaints, the City failed to take them seriously and allowed

the complained-of behavior to continue. See Tex. Gov’t Code § 554.001(4) (defining law as state

or federal statute, ordinance of local government, or rule adopted under statute or ordinance);

Llanes v. Corpus Christi ISD, 64 S.W.3d 638, 642 (Tex. App.—Corpus Christi 2001, pet. denied)

(reporting is the disclosure of information tending to prove a violation of a criminal or civil law,

state or federal constitution, statute, administrative rule, or regulation); City of Elsa v. Gonzalez,

325 S.W.3d 622, 626 (Tex. 2010) (good-faith reporting means the plaintiff believed the conduct

violated the law and the belief was reasonable considering their training and experience); City of

Cockrell Hill v. Johnson, 48 S.W.3d 887, 895–96 (Tex. App.—Fort Worth 2001, pet. denied)

(employing entity is violator when the violation was committed by one of its representatives). Ms.

Rodriguez was forced to express her concerns to the County Judge for her claims to be addressed

and taken seriously.

       53.     Ms. Rodriguez made the reports to the proper law enforcement authority. Tex.

Gov’t Code § 554.002(a). Specifically, Ms. Rodriguez reported this conduct to the County Judge

in January 2020 after being ignored by Mr. Zanoni and the City. Additionally, on October 21,

2021, Ms. Rodriguez reported the unlawful conduct to the EEOC under EEOC Charge No. 451-

2022-00187.

       54.     Ms. Rodriguez suffered an adverse personnel action because of these reports. Tex.

Gov’t Code § 554.002(a). Specifically, Ms. Rodriguez has been forced to re-apply for the position

she has held for nearly twenty (20) years, with zero guarantee that she will be rehired, though her

colleagues who are also required to re-apply for their positions have received assurances that the


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re-application process is a mere formality. Additionally, Ms. Rodriguez has received an adverse

employment review, which included unsupported allegations of creating a hostile work

environment by failing to engage staff in a professional manner and belittling or berating them.

The City placed a false Disciplinary Memorandum in Ms. Rodriguez’s personnel file that

mischaracterized the events leading up to a press conference that was held on August 15, 2021 and

left out key pieces of information that later required clarification by the County Judge.

Specifically, the Disciplinary Memorandum alleged that Ms. Rodriguez had failed to properly

communicate and coordinate with City Leadership regarding the August 15, 2021 press

conference.   More importantly, due to the defamatory statements that are being circulated

regarding Ms. Rodriguez and her job performance, the public has begun to harass her, which has

led to loss of confidence in her ability to keep the public safe, and thus detrimentally impacting

the community’s public health. Tex. Gov’t Code § 554.001(3) (defining personnel action as one

that affects the plaintiff’s compensation, promotion, demotion, transfer, work assignment, or

performance evaluation); Tex. Dep’t of MHMR v. Rodriguez, 63 S.W.3d 475 (Tex. App.—San

Antonio 2001, pet. denied) (adverse personnel actions includes ultimate employment decisions

like direct or constructive termination as well as lesser actions like reprimands, warnings, and

missed pay increases). The adverse personnel action described above would not have occurred

when it did if Ms. Rodriguez had not reported the illegal conduct. Specifically, all the adverse

actions mentioned above occurred after the initial report to the County Judge was made. Moreover,

Ms. Rodriguez was forced to re-apply for her current position and received an adverse employment

review after complaining about her pay and filing her EEOC Charge. Notably, the adverse

employment review occurred on January 7, 2022, which is within ninety (90) days of when Ms.

Rodriguez filed her EEOC Charge.        Therefore, there is a rebuttable presumption that Ms.


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Rodriguez’s EEOC Charge triggered the adverse employment appraisal. See Tex. Gov’t Code §

554.004(a); City of Elsa v. Gonzalez, 325 S.W.3d 622, 625 (Tex. 2010). Absent Ms. Rodriguez’s

reports, Defendants would not have rigorously retaliated against her the way they have.

          55.   The foregoing conduct constitutes a willful violation of the Texas Whistleblower’s

Statute and Ms. Rodriguez is entitled to compensatory damages, prejudgment interest, and

attorneys’ fees for same. Tex. Gov’t Code § 554.001 et seq.

                COUNT VI – Deprivation of Rights in Violation of Section 1983

          56.   Ms. Rodriguez realleges and incorporates by reference the allegations of

Paragraphs 1 through 55 above as if fully set forth herein.

          57.   Section 1983 prohibits any person from depriving another of a federal constitutional

or statutory right while using state government authority. 42 U.S.C. § 1983.

          58.   Municipal liability under Section 1983 requires proof of (1) a policymaker, (2) an

official policy, and (3) a violation of constitutional rights whose “moving force” is the policy or

custom. Piotrowski v. City of Houston, 237 F.3d 567, 578 (5th Cir.2001) (citing Monell v. Dept.

of Social Services, 436 U.S. 658, 694 (1978)).

          59.   Ms. Rodriguez is a citizen of the United States and brings this claim on behalf of

herself and attaches a Verification to this First Amended Complaint verifying the facts set forth

herein.

          60.   Defendants are the City, the Mayor, Mr. Zanoni, Mr. Viera, and Ms. McHaney.

Defendants are a municipality or are employees of the City and, at all times, acted under the color

of the law. Defendants are also policymakers for the municipality of Corpus Christi because they

have been tasked with and are involved in the day-to-day policymaking and implementation for

the City.


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       61.     Here, Defendants have violated FLSA, EPA, and have retaliated against Ms.

Rodriguez in violation of the Texas Whistleblower Statute. At all times, Defendants were acting

within their official capacities and with authority from the City. Specifically, Defendants have

refused to pay Ms. Rodriguez the unpaid wages she is owed under the law. Defendants have

defamed Ms. Rodriguez’s reputation in the press, making it exponentially harder for her to do her

job and causing needless public doubt in her ability to do her job as Director of Public Health.

Citizens are now sending e-mail communications berating Ms. Rodriguez and the job she has done

for her community during a global pandemic based on news reports containing false information.

Defendants’ actions have not only caused Ms. Rodriguez monetary damages, but they have also

caused damage to Ms. Rodriguez’s reputation, thereby detrimentally hindering her ability to keep

her community safe during an ongoing health crisis.

       62.     While committing the actions described above, Defendants were acting under the

color of state law, acting pursuant to customs, practices, and policies of the City, doing so without

proper reason or authority, without reasonable or probable cause, and with deliberate indifference

to the rights of Plaintiff. Specifically, Defendants, as policymakers, created, authorized, and/or

ratified the decision to take adverse employment action against Ms. Rodriguez in the form an

adverse employment appraisal, a Disciplinary Memorandum containing fabrications, and moving

to take management of the Health District with the sole purpose of terminating Ms. Rodriguez’s

employment.

       63.     Defendants violated the civil rights of Ms. Rodriguez, including violation of the

rights found in the Fifth Amendment to the United States Constitution and those under Texas law

(specifically, the Texas Whistleblower Statute) and its Constitution, by creating policies that are

adverse to Ms. Rodriguez’s employment and failing to comply with her Employment Agreement.


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       64.     As a direct result of these violations, and in accordance with Section 1983, Ms.

Rodriguez’s civil rights have been violated in that she has suffered, and will continue to suffer,

damages as described in this First Amended Complaint, as well as to incur attorneys’ fees, costs,

and expenses as authorized by Section 1983, in an amount not yet ascertained, all of which will be

shown according to proof at trial.

                                       Requests for Relief

       65.     Ms. Rodriguez realleges and incorporates by reference the allegations of

Paragraphs 1 through 64 above as if fully set forth herein.

       66.     The relief requested is injunctive and declaratory in nature. This relief is necessary

to stop Defendants’ unilateral disregard for Ms. Rodriguez’s Employment Agreement, which

requires consent from the County Judge before any adverse action is taken to terminate her

employment.

       67.     Here, judicial intervention is necessary because of the disingenuous and

surreptitious manner in which Defendants are conducting themselves. Defendants have repeatedly

taken adverse action against Ms. Rodriguez, including denying her pay to which she is entitled,

assessing a biased and improper evaluation of her performance, launching unsubstantiated

allegations of complaints against her, publicly defaming her personal and professional reputation,

and taking active steps to terminate her employment. It is incontrovertible that Defendants are

taking such action as retaliation for Ms. Rodriguez’s complaints about her pay and discrimination.

Defendants have entirely disregarded the provision of Ms. Rodriguez’s Employment Agreement

that requires the agreement of the County Judge before any adverse action is taken against her.

Defendants’ conduct continues to demonstrate that they are intent in acting independently to

remove Ms. Rodriguez from her role.


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       A.      Plaintiff Seeks a Temporary Restraining Order, as Well as Preliminary and
               Permanent Injunctive Relief.

       68.     Ms. Rodriguez realleges and incorporates by reference the allegations of

Paragraphs 1 through 67 above as if fully set forth herein.

       69.     Pursuant to FRCP 65 and Tex. Gov’t Code § 554.003, Plaintiff requests that this

Court issue temporary, preliminary, and permanent relief: (i) withdrawing the negative

performance assessment documented by Mr. Zanoni in Plaintiff’s Exempt Employee Performance

Evaluation Form; (ii) compelling Defendants to honor the terms of Plaintiff’s Employment

Agreement, which requires the consent of the County Judge before any adverse action is taken

against Plaintiff in her employment; and (iii) enjoining further retaliation and/or unjustified

adverse actions.

               i.         Ms. Rodriguez Is Entitled to Injunctive Relief

       70.     To obtain a temporary restraining order, as well as preliminary injunctive relief,

Plaintiffs must show each of the following: (i) that Plaintiffs will likely suffer imminent and

irreparable injury if Defendants’ conduct is permitted to continue; (ii) there is no adequate remedy

at law; (iii) there is a substantial likelihood that Plaintiffs will prevail on the merits; (iv) the

threatened harm to the Plaintiffs outweighs the harm that a temporary restraining order would

inflict on the Defendants; and (v) the issuance of a temporary restraining order would not adversely

affect the public interest or public policy. Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7,

22 (2008) (preliminary injunction); eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 391 (2006)

(permanent injunction).

               ii.     Ms. Rodriguez Will Continue to Suffer Irreparable Harm if an Injunction
                       Is Not Issued and There Is No Adequate Remedy at Law

       71.      Plaintiff will continue to suffer irreparable harm if an injunction is not issued.


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Irreparable injuries are actual and imminent, and not speculative or remote. Allied Home Mort.

Corp. v. Donovan, 830 F. Supp. 2d 223, 227 (S.D. Tex. 2011). The harm to Plaintiff that is actual,

imminent, and irreparable includes any adverse employment action the City takes without the

concurrence of the County Judge, including, but not limited to, her termination as Director of

Public Health, or any additional disciplinary actions that are unfounded and without support. This

injury is not merely speculative, as shown by the facts above, and, if not enjoined, is likely to occur

again before a decision on the merits is reached. See, e.g., State v. United States Environmental

Protection Agency, 989 F.3d 874, 884 (10th Cir. 2021).

       72.     An irreparable injury is one that cannot be prevented or fully rectified by a final

judgment following trial. Deerfield Med. Ctr. V. City of Deerfield Beach, 661 F.2d 328, 338 (5th

Cir. 1981). Here, the injuries described above could not be prevented or fully rectified by a final

judgment following trial because Ms. Rodriguez’s employment, retirement, and livelihood depend

on her continued employment.

       73.     Additionally, there is no adequate remedy at law. Northern Cal. Power Agency v.

Grace Geothermal Corp., 469 U.S. 1306, 1306 (1984). For purposes of injunctive relief, there is

no adequate remedy at law when (1) the legal remedy is merely illusory, or (2) effective legal relief

cannot be obtained without filing multiple lawsuits. See, e.g., Wilson v. Ill. S. Ry., 263 U.S. 574,

576–77 (1924); see Winston v. General Drivers, Warehousemen & Helpers Local Union, 879 F.

Supp. 719, 725 (W.D. Ky. 1995) (no adequate remedy because remedy was considered illusory).

Here, the latter of these factors can be established because without filing multiple lawsuits and

appeals, Ms. Rodriguez may be left without employment for an indeterminate period of time.

               iii.    Ms. Rodriguez Is Likely to Succeed on the Merits of This Case

       74.     As set forth in detail above, Ms. Rodriguez is extremely likely to succeed on the


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merits of this case because Defendants have blatantly refused to pay Ms. Rodriguez the unpaid

wages she is owed and have rigorously and openly retaliated against her in response to her

complaints.

       75.     Defendants have failed to give Ms. Rodriguez a fair performance evaluation and

instead, utilized her annual performance evaluation as another opportunity to retaliate against her.

Additionally, Defendants have continued to defame Ms. Rodriguez in the press, in an effort to

destroy her reputation with the community and undermine her effort to do her job. Defendants

have required Ms. Rodriguez to re-apply for the position in which she has honorably and diligently

served for nearly twenty (20) years, with no intent of re-hiring her, and with no assurance of the

re-application process being a mere formality, as it was represented to her colleagues. Lastly,

Defendants have placed a false Disciplinary Memorandum in Ms. Rodriguez’s personnel file that

mischaracterized the events leading up to a press conference that was held on August 15, 2021 and

left out key pieces of information. While the County Judge only has positive things to say about

Ms. Rodriguez’s job performance, the City has taken the opposite position in an effort to remove

her as Director of Public Health. When viewed through an objective lens, the only reasonable

conclusion from Defendants’ actions is that they are retaliating against Ms. Rodriguez in an effort

to terminate her from the Health District.

               iv.     The Balance of Hardships Tilts in Ms. Rodriguez’s Favor

       76.     The evidence presented herein clearly shows that granting Plaintiff’s requested

injunctive relief will not create a hardship for Defendants. Specifically, removing a false and

misleading performance evaluation will not harm or affect Defendants in any way.              More

importantly, requiring Defendants to obtain the County Judge’s consent before taking any adverse

employment action against Ms. Rodriguez only enforces the terms of Ms. Rodriguez’s


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Employment Agreement and does not create a hardship for Defendants.

       77.     Conversely, without the injunctive relief sought, Plaintiff is the only party who will

continue to experience hardship in the form of workplace discrimination, a hostile work

environment, defamation per se, and unpaid wages to which she is entitled.

       78.     As such, the balance of hardships weighs heavily in Plaintiff’s favor, thereby

justifying the injunctive relief sought.

               v.      The Public Interest Will Be Served by Injunctive Relief

       79.     Finally, it is important that the public interest be served by ensuring a fair and

proper resolution here. The injunctive relief sought here would not adversely affect public policy

or public interest. Benisek v. Lamone, 138 S. Ct. 1942, 1944–45 (2018). Specifically, neither

public policy nor public interest will be adversely affected by injunctive relief because it would

only ensure that Ms. Rodriguez’s Employment Agreement is properly enforced and reverse the

improper actions taken by Defendants. Moreover, injunctive relief in this case would protect

public policy by safeguarding Ms. Rodriguez from further retaliation in response to her valid

claims against Defendants. Injunctive relief in this case would strengthen public policy because it

would force public officials to be held accountable for their actions. The public has an interest in

protecting whistleblowers from adverse employment action resulting from the reporting of

unlawful conduct.

       80.     Plaintiff is willing to post a bond in the amount the Court deems appropriate and

continue the bond set by the Court for the Temporary Restraining Order.

       81.     Plaintiff asks the Court to set her application for a preliminary injunction for

hearing at the earliest possible time and, after hearing the request, to issue a preliminary injunction

against the Defendants.


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       82.      Plaintiff asks the Court to set her application for injunctive relief for a full trial on

the issues in this application, and after the trial, issue a permanent injunction against the

Defendants.

       B.       Declaratory Judgment

       83.      Ms. Rodriguez realleges and incorporates by reference the allegations of

Paragraphs 1 through 82 above as if fully set forth herein.

       84.      Defendant’s acts in violation of Section 1983 are arbitrary and capricious, are

abuses of discretion, and are not in accordance with the law.

       85.      Based upon the facts stated herein and pursuant to Section 1983, Plaintiff

respectfully requests that this Court declare, adjudge, decree, and hold: that Defendants may not

take any adverse action against Ms. Rodriguez, including, but not limited to, termination without

the County Judge’s concurrence.

       86.      Ms. Rodriguez pleads this request for declaratory relief in addition to, and as an

alternative to, its demand for injunctive relief. Even if Ms. Rodriguez has somehow not met her

burden of proof with respect to her requested injunction, she has clearly met the burden of proof

needed for a declaration and for this Court to issue a finding that the Defendants acted arbitrarily

and capriciously and that their actions amounted to a violation of Section 1983.

                                              PRAYER

       87.      WHEREFORE PREMISES CONSIDERED, Plaintiff respectfully requests that

the Court issue a citation for Defendant to appear and answer, and that Plaintiff be awarded a

judgment against Defendant for the following:

             a. A declaratory      judgment     declaring    Defendants     willfully,   unreasonably,

                wrongfully, and without good faith violated their statutory and legal obligations,

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   and deprived Plaintiff of her rights, protections, and entitlements under federal

   law, as alleged herein;

b. An order for a complete and accurate accounting of all the compensation to which

   Plaintiff is entitled under both the EPA and FLSA;

c. Temporarily restrain, preliminarily and permanently enjoin, vacate and set aside

   the Exempt Employee Performance Evaluation Form completed by Mr. Zanoni;

d. Issue a temporary restraining order, as well as preliminary and permanent

   injunctions enjoining any further retaliation and upholding Plaintiff’s

   Employment Agreement which requires that no adverse action may be taken

   against her without the concurrent agreement of both the Corpus Christi City

   Manager and Nueces County Judge;

e. Declare that Defendants have violated Section 1983;

f. Liquidated damages equal to her unpaid compensation;

g. All costs and attorneys’ fees incurred in prosecuting these claims;

h. Pre- and post-judgment interest;

i. General damages;

j. Special damages;

k. Nominal damages;

l. Exemplary damages;

m. Costs of court; and

n. Such further relief, both general and special, at law or equity, to which Plaintiff

   may show herself to be justly entitled.




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                                                Respectfully submitted,



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                                                ATTORNEYS FOR PLAINTIFF,
                                                ANNETTE RODRIGUEZ




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing has been
filed on this 18th day of February 2022, through the CM/ECF system, which caused Defendants to
be served through their counsel of record by electronic means.

Frederick J. McCutchon
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Corpus Christi, Texas 78401

Attorneys for Defendants



                                                Bryant S. Banes




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                                               VERIFICATION
    STATE OF TEXAS                         §
    NUECES COUNTY                          §


             Before me, the undersigned notary, on this day personally appeared Annette Rodriguez,
    the affiant, whose identity is known to me. After I administered an oath, affiant testified as follows:

           I.      "My name is Annette Rodriguez, and I am over the age of eighteen and am capable
    of making this Verification.

             2.     I have read Plaintiffs First Amended Complaint against Defendants, the City of
    Corpus Christi, Paulette Guajardo, Peter Zanoni, Steven Viera, and Eyvon McHaney in Civil
    Action No. 2:21-cv-00297. The facts stated in it are within my personal knowledge and are true
    and correct to the best of my knowledge. To the extent the content of the foregoing First Amended
    Complaint is that of counsel, I have relied upon counsel in making this Verification. I understand
    that false statements herein are made subject to the penalties of perjury."



                                                          CLr.�/
                                                          Annette Rodriguez

·          SUBSCRIBED AND SWORN TO BEFORE ME on this� day of �M)H1tG
    2022, to which witness my hand and official seal.               �
